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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   UNITED STATES OF AMERICA


           v.                                                                  CRIMINAL ACTION
                                                                                No. 19-64-1 and 2

   JOHN DOUGHERTY and ROBERT HENON,




                                                  ORDER

       AND NOW, this 1st day of October, 2021, upon review of Defendant Dougherty’s and

Defendant Henon’s Motions to Continue the Trial, and the Government’s opposition thereto, it is

hereby ORDERED that the Motions to Continue the Trial are DENIED. The Trial will commence

as scheduled with jury selection beginning on Monday, October 4, 2021.


                                                             BY THE COURT:

                                                             /s/ Jeffrey L. Schmehl
                                                             Jeffrey L. Schmehl, J. 1

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            Defendants claim that they are not ready for trial given a recent disclosure of evidence by the
   Government through a Motion in Limine. Defendants complain that the three pieces of evidence the
   Government seeks to admit should not be presented at this trial, and if they are permitted, then the Court
   should grant a continuance.
            But this evidence is not new nor is it a surprise. The indictment in this case was unsealed on
   January 30, 2019. The Government states that the Defendants have had this information for over two years.
   Trial has been set and actually planned to commence on multiple occasions throughout the past year. It is
   only because of the COVID-19 pandemic that the trial has not yet begun. Specifically, the trial was set and
   ready to commence in September 2020, January 2021, March 2021, May 2021, and now, it is set and ready
   to commence on October 4, 2021.
            The Motion to Admit that concerns the Defendants was not filed on the “eve of trial.” It was filed
   approximately three weeks before the trial is set to commence, yet Defendants filed their Motion to
   Continue the Trial at nine o’clock at night on the second to last business day before trial commences. The
   Court just recently adjudicated the Motion in Limine in which the Court ruled that two of the three pieces
   of evidence may be admitted at trial. The Court denied the Government from admitting in this trial what the
   Court sees as the most contentious piece of evidence, Defendant Dougherty’s personal benefits. Then one
   of the two pieces of evidence that the Court admitted was evidence about Defendant Dougherty’s
   employment control which the Defendants surely should have expected give the alleged stream of benefits.
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Further, the defendants know most, if not all, of the witnesses that the Government listed regarding these two pieces
of evidence as most are family members, friends, or business associates. Additionally, the Court Ordered that the
Government shall not submit any evidence concerning Defendant Dougherty’s and Peltz’s relationship until after
two weeks of the trial’s commencement which gives the Defendants more time to prepare.
          The Defendants argue that the Court’s Severance Order and Opinion kept this evidence out, therefore, they
did not expect it to be admitted. The Court’s Severance Order and Opinion mainly concerned all of the Defendants
except for Defendant Dougherty because he is the only Defendant named in all of the counts of the indictment. The
Court was concerned that having one trial would prejudice the defendants named in the embezzlement counts when
the jury heard evidence concerning the corruption counts and vice versa. With that said, Dougherty would not suffer
such prejudice because he is named in the embezzlement and corruption counts so all evidence, in theory, would
relate to him. The Motion to Admit evidence is also very relevant to this trial, and nothing in the Court’s Severance
Opinion took away any right of the Government to try to admit this evidence. Thus, the Defendants should have
very well expected the Government to try to submit this evidence at this trial.
          The Court strongly does not believe that the Defendants are prejudiced in any way by the admittance of the
two pieces of evidence that they were well aware of, Dougherty’s employment control and Dougherty and Peltz’s
relationship, so that a continuance would be warranted.



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